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 2
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           TRACY HOPE DAVIS
 9
10                            UNITED STATES BANKRUPTCY COURT

11                                       DISTRICT OF NEVADA

12   In re                                         )      Case No. BK-S-16-13165-ABL
                                                   )
     ELIZA E. FELIX                                )
13                                                        Chapter 7
                                                   )
14                                                 )
                                                   )      Date: N/A
15                                                 )      Place: N/A
                                        Debtor(s). )      Time: N/A
16
17
                             APPOINTMENT OF BRIAN SHAPIRO AS
18                          SUCCESSOR TRUSTEE AND DESIGNATION OF BOND
19
             Pursuant to 11 U.S.C. § 703 and upon the death of trustee Victoria Nelson, the United
20   States Trustee hereby appoints Brian Shapiro to serve as successor trustee in the case identified
21   in the caption above. The blanket bond for Chapter 7 trustees, previously on file with the Court,
22   is designated as the required bond for this case. By the filing of this appointment, Victoria
23   Nelson is terminated as the trustee in this case.

24           Dated: January 19, 2018

25                                                  Respectfully Submitted,
                                                    TRACY HOPE DAVIS
26                                                  THE UNITED STATES TRUSTEE
27
                                                    By: /s/ Nicholas Strozza
28                                                      Nicholas Strozza
                                                        Assistant United States Trustee
